935 F.2d 267Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James E. MAUZONE, Jr., Petitioner-Appellant,v.James N. ROLLINS, Warden, Attorney General of the State ofMaryland, Respondents-Appellees.
    No. 91-6788
    United States Court of Appeals, Fourth Circuit.
    Submitted April 25, 1991.Decided June 12, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Norman P. Ramsey, District Judge.  (CA-90-1398-R)
      James E. Mauzone, Jr., appellant pro se.
      John J. Curran, Jr., Attorney General, Ann N. Bosse, Assistant Attorney General, Baltimore, Md., for appellees.
      D.Md.
      DISMISSED.
      Before K.K. HALL, MURNAGHAN and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      James E. Mauzone, Jr., seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Mauzone v. Rollins, CA-90-1398-R (D.Md. Feb. 9, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    